               Case 3:24-cv-01198-JR      Document 22    Filed 11/04/24      Page 1 of 6




             O’Kasey, OSB No. 870696
      Karen O'Kasey,
      E-mail: kok@hartwagner.com
      Taylor B. Lewis, OSB No. 164263
      E-mail: tbl@hartwagner.com
      Zachariah H. Allen, OSB No. 122729
      E-mail: zha@hartwagner.com
      HART WAGNER LLP
      1000 S.W. Broadway, Twentieth Floor
      Portland, Oregon 97205
      Telephone: (503) 222-4499
      Facsimile: (503) 222-2301
         Of            for Defendants
         Of Attorneysfor
         Lake Oswego School District and
                                      and
         Lake Oswego School Board




                                 IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF OREGON

                                         PORTLAND DIVISION

      JOHN PARKS,                                                    Case No. 3:24-cv-1198-JR

                    Plaintiff,                          LAKE OSWEGO SCHOOL DISTRICT
                                                            AND LAKE OSWEGO SCHOOL
               v.                                        BOARD’S RULE 12(F) MOTION TO
                                                         BOARD'S
                                                                               STRIKE
      LAKE OSWEGO SCHOOL DISTRICT;
      LAKE OSWEGO SCHOOL BOARD;
      OREGON SCHOOL ACTIVITIES
      ASSOCIATION; PORTLAND PUBLIC
      SCHOOLS; and MARSHALL HASKINS,
      individually and in his representative
                for OREGON SCHOOL
      capacity for
      ACTIVITIES ASSOCIATION
                     ASSOCIATION and
      PORTLAND PUBLIC SCHOOLS,

                    Defendants.


      ////
        //

      ////
        //

      ///
Page 1 -     LAKE OSWEGO SCHOOL DISTRICT AND LAKE                         HART WAGNER LLP
                                                                   1000 S.W. Broadway, Twentieth Floor
             OSWEGO SCHOOL BOARD’S
                           BOARD'S RULE 12(F) MOTION                      Portland, Oregon 97205
             TO STRIKE                                                   Telephone: (503) 222-4499
                                                                         Facsimile: (503) 222-2301
                Case 3:24-cv-01198-JR           Document 22          Filed 11/04/24        Page 2 of 6




                                     LOCAL RULE 7 -1 CERTIFICATION

                Pursuant to Local Rule 7-1, the undersigned certifies conferring with plaintiff’s
                                                                                      plaintiff's counsel

      about this motion. The parties were unable to reach a resolution and the Court’s
                                                                               Court's ruling is

      necessary.

                                              MOTION TO STRIKE

                Pursuant to F.R.C.P. 12(f), Lake Oswego School District and Lake Oswego School Board

                        “District”) move to strike plaintiff’s
      (collectively the "District")                plaintiff's Exhibits 1-9.

                This motion is supported by the pleadings on file herein and the following memorandum

      of law.

                                                  BACKGROUND

                In this section 1983 case, plaintiff asserts that the District retaliated against him for

      sending an email to the Oregon School Activities Association ("OSAA")
                                                                   (“OSAA”) expressing his views on

      transgender student participation in Oregon high school athletic competitions. (FAC ¶¶5-19).

      Plaintiff claims this violated his First Amendment rights because he was investigated and then

      discharged for expressing his views to the OSAA. (Id. at ¶¶83-96).

                Plaintiff claims the District violated his Fourteenth Amendment right to procedural due

      process by requiring him to reapply for the track and field coaching position he held at Lake

      Oswego High School and by not "restoring"
                                    “restoring” him to cross-country coach and teaching assistant

      positions he previously held. (Id. at ¶¶98-120).

                Plaintiff also brings a common law defamation claim against other defendants. (Id. at

      ¶¶121-147).

      ///

      ///


Page 2 -    LAKE OSWEGO SCHOOL DISTRICT AND LAKE                                        HART WAGNER LLP
                                                                                 1000 S.W. Broadway, Twentieth Floor
            OSWEGO SCHOOL BOARD’S
                          BOARD'S RULE 12(F) MOTION                                     Portland, Oregon 97205
            TO STRIKE                                                                  Telephone: (503) 222-4499
                                                                                       Facsimile: (503) 222-2301
              Case 3:24-cv-01198-JR          Document 22         Filed 11/04/24        Page 3 of 6




              Plaintiff seeks preliminary and permanent injunctions ordering the District to remove

      “derogatory comments”
      "derogatory comments" related to the investigation from his file and an order restoring him to his

      prior positions at Lake Oswego High School. (Id. p. 25).

                                            LEGAL STANDARD

              Under FRCP 12(f), the Court may strike from a pleading any redundant, immaterial,

      impertinent, or scandalous matter. Although Oregon District Courts have not weighed in on this

      precise issue, other courts from this circuit grant motions to strike exhibits attached to complaints

      when those exhibits are not "written
                                  “written instruments"
                                           instruments” under F.R.C.P. 10(c). Bisi v. Chase Auto J.P.

      Morgan Chase Bank, N.A., 2024 U.S. Dist. LEXIS 127906, *4 (E.D. Cal. July 19, 2024).
      Morgan

              “A copy of a written instrument that is an exhibit to a pleading is a part of the pleading
              "A

      for all purposes.”
              purposes." F.R.C.P. 10(c). However, F.R.C.P. 10(c) "only
                                                                 “only permits the incorporation of a

      legally operable ‘written instrument’ such as a contract, check, letter, or affidavit.”
                       `written instrument'                                       affidavit." Dichter-Mad

      Fam. Partners, LLP v. United States
                                   States¸709
                                          :709 F.3d 749, 755 (9th Cir. 2013). In contrast, witness

      affidavits and attachments containing largely evidentiary material do not fall within Rule 10(c)’s
                                                                                                 10(c)'s

      definition of "written
                    “written instruments."
                             instruments.” Montgomery
                                           Montgomery v. Buege, 2009 U.S. Dist. LEXIS 32918, *10-

      11 (E.D. Cal. April 14, 2017) (citing 5 Charles Alan Wright & Arthur R. Miller, Federal Practice

      and Procedure § 1327 (2008) (Exhibits containing extraneous or evidentiary material should not

      be attached to the pleadings pursuant to Rule 10(c)). Additionally, courts in this circuit grant

      motions to strike exhibits that are not authenticated. Perez v. Cnty. of
                                                                            of Los Angeles, 2024 U.S.

      Dist. LEXIS 117961, *9-10 (C.D. Cal. June 2, 2024).

      ///

      ///

      ///


Page 3 -    LAKE OSWEGO SCHOOL DISTRICT AND LAKE                                    HART WAGNER LLP
                                                                             1000 S.W. Broadway, Twentieth Floor
            OSWEGO SCHOOL BOARD’S
                          BOARD'S RULE 12(F) MOTION                                 Portland, Oregon 97205
            TO STRIKE                                                              Telephone: (503) 222-4499
                                                                                   Facsimile: (503) 222-2301
              Case 3:24-cv-01198-JR           Document 22         Filed 11/04/24           Page 4 of 6




                                          LEGAL MEMORANDUM

              The Court should strike Exhibits 1 through 9 to the First Amended Complaint. They are

      unauthenticated evidentiary materials that do not qualify as "written
                                                                   “written instruments"
                                                                            instruments” under

      Rule 10(c).

             Exhibit 1 is a portion of an email plaintiff sent to members of the OSAA on May 15,

      2024. It is not a "true
                        “true and correct”
                                  correct" copy of the email sent. Plaintiff includes an "Edit
                                                                                         “Edit note”
                                                                                               note" in

      Exhibit 1 stating that he omitted information from the original letter. (FAC, Ex 1., p. 3).

      Exhibit 1 is therefore not authentic. Exhibit 1 is also not a "written
                                                                    “written instrument.”
                                                                             instrument." Under the

      applicable rules, at most, it may be evidentiary material relating to plaintiff’s
                                                                            plaintiff's communications

      with the OSAA. Unlike a contract or other "written
                                                “written instruments"
                                                         instruments” contemplated by

      F.R.C.P. 10(c), Exhibit 1 does not form the basis for any claim in and of itself.

             Exhibit 2 is not a written instrument. It is an unauthenticated email string between OSAA

      members and someone from Fox News regarding OSAA’s
                                                  OSAA's transgender athletic participation

      policies, which are not at issue in this case. (FAC, Ex. 2).

             Exhibit 3 is also not a written instrument for purposes of the rule. It is an unauthenticated

      photograph of a portion of an unauthenticated letter with an unidentified person’s
                                                                                person's handwriting on

      it. (FAC, Ex. 3). The photographed letter is stapled, indicating there is more than one page to

      the document that was not included in Exhibit 3, and the letter’s
                                                               letter's sender’s
                                                                        sender's information is also not

      captured. Exhibit 3 is evidentiary material and does not form the basis of plaintiff’s
                                                                                 plaintiff's claims.

             Exhibits 4 and 5 are not written instruments. They are unauthenticated photographs of

      letters describing the District's
                             District’s evidentiary findings relating to plaintiff’s
                                                                         plaintiff's conduct at the 2024

      OSAA Track and Field State Championships. (FAC, at Exs. 4 & 5). These letters do not form

      the basis of plaintiff’s
                   plaintiff's claims and are, at best, evidentiary materials.


Page 4 -   LAKE OSWEGO SCHOOL DISTRICT AND LAKE                                         HART WAGNER LLP
                                                                                 1000 S.W. Broadway, Twentieth Floor
           OSWEGO SCHOOL BOARD’S
                         BOARD'S RULE 12(F) MOTION                                      Portland, Oregon 97205
           TO STRIKE                                                                   Telephone: (503) 222-4499
                                                                                       Facsimile: (503) 222-2301
             Case 3:24-cv-01198-JR           Document 22         Filed 11/04/24         Page 5 of 6




             Exhibit 6 is an unauthenticated letter by plaintiff to Lake Oswego High School’s
                                                                                     School's

      principal, Kristen Colyer, describing his version of events. (FAC, Ex. 6). This exhibit does not

      form the basis of any of plaintiff’s
                               plaintiff's claims, is inadmissible hearsay, and is a regurgitation of

      allegations in the First Amended Complaint.

             Exhibits 7 and 8 are not written instruments and not related to plaintiff’s
                                                                             plaintiff's claims.

      Exhibit 7 is an unauthenticated letter plaintiff purportedly sent to Oregon State Senator Wagner.

      (FAC, Ex. 7). It has nothing to do with plaintiff’s
                                              plaintiff's claims about his letter to the OSAA. Exhibit 8

      is a copy of plaintiff’s
                   plaintiff's resume. (FAC, Ex. 8). Neither forms the basis for plaintiff’s
                                                                                 plaintiff's claims.

             Exhibit 9 is not a written instrument. It is a copy of the tort claim notice plaintiff’s
                                                                                          plaintiff's

      counsel apparently sent to defendants OSAA and PPS. It is, at best, evidentiary material

      supporting plaintiff’s
                 plaintiff's claim that he provided notice of his tort claim pursuant to the Oregon Tort

      Claims Act.

                                                CONCLUSION

             The District respectfully asks that the Court grant this motion and strike Exhibits 1-9.

             DATED this 4th day of November, 2024.

                                                           HART WAGNER, LLP


                                                   By:     /s/ Taylor B. Lewis
                                                                  O’Kasey, OSB No. 870696
                                                           Karen O'Kasey,
                                                           kok@hartwagner.com
                                                           Taylor B. Lewis, OSB No. 164263
                                                           tbl@hartwagner.com
                                                           Zachariah H. Allen, OSB No. 122729
                                                           zha@hartwagner.com

                                                          Of           for Defendants
                                                          Of Attorneysfor
                                                          Lake Oswego School District and
                                                                                      and
                                                          Lake Oswego School Board




Page 5 -   LAKE OSWEGO SCHOOL DISTRICT AND LAKE                                      HART WAGNER LLP
                                                                              1000 S.W. Broadway, Twentieth Floor
           OSWEGO SCHOOL BOARD’S
                         BOARD'S RULE 12(F) MOTION                                   Portland, Oregon 97205
           TO STRIKE                                                                Telephone: (503) 222-4499
                                                                                    Facsimile: (503) 222-2301
           Case 3:24-cv-01198-JR        Document 22        Filed 11/04/24         Page 6 of 6




                                  CERTIFICATE OF SERVICE

           I hereby certify that on the 4th day of November, 2024, I served the foregoing LAKE

    OSWEGO SCHOOL DISTRICT AND LAKE OSWEGO SCHOOL BOARD'S
                                                  BOARD’S

    RULE 12(F) MOTION TO STRIKE on the following parties at the following addresses:

           Luke D. Miller
           Miller Bradley Law LLC
           1567 Edgewater St NW PMB 43
           Salem OR 97304
           office@millerbradleylaw.com

           M.E. Buck Dougherty III
           Liberty Justice Center
           Building 2
           13341 W. U.S. Highway 290
           Austin, TX 78737
           bdougherty@libertyjusticecenter.org
              Of            for Plaintiff
              Of Attorneysfor   Plaintiff

    by electronic means through the Court’s
                                    Court's Case Management/Electronic Case File system.


                                                    /s/ Taylor B. Lewis
                                                    Taylor B. Lewis




Page 1 - CERTIFICATE OF SERVICE                                                  HART WAGNER LLP
                                                                          1000 S.W. Broadway, Twentieth Floor
                                                                                 Portland, Oregon 97205
                                                                                Telephone: (503) 222-4499
                                                                                Facsimile: (503) 222-2301
